Case 2:10-md-02179-CJB-DPC Document 8963-55 Filed 03/20/13 Page 1 of 3




                   Exhibit 19B
Case 2:10-md-02179-CJB-DPC Document 8963-55 Filed 03/20/13 Page 2 of 3




                                     EXHIBITS

                                Submitted by Class Counsel
                  in Support of the Claims Administrator’s Interpretation
                   and in Opposition to BP’s Motion for Reconsideration



1. SETTLEMENT AGREEMENT, BEL Compensation Framework, Exhibit 4C

2. SETTLEMENT AGREEMENT, BEL Documentation Requirements, Exhibit 4A

3. MEMO VIA E-MAIL FROM RICK GODFREY TO RICE AND FAYARD (Feb. 17, 2012).

4. EXCERPTS FROM PRELIMINARY APPROVAL HEARING TRANSCRIPT

5. EXCERPTS FROM BP’S MEMORANDUM IN SUPPORT OF FINAL APPROVAL

6. EXCERPTS FROM DECLARATIONS IN SUPPORT OF BP’S MOTION FOR FINAL APPROVAL

7. DECLARATION OF HOLLY SHARP [Doc 7441-18], p.10.

8. Deepwater Horizon Claims Center, APPEAL PANEL TRAINING, “General BEL”
   (Aug. 20, 2012)

9. MEMO FROM CLASS COUNSEL TO CLAIMS ADMINISTRATOR RE MONTHLY PROFIT & LOSS
   DOCUMENTATION (Sept. 19, 2012)

10. Claims Administrator’s ANNOUNCEMENT OF POLICY DECISIONS REGARDING CLAIMS
    ADMINISTRATION (Sept. 25, 2012)

11. MIKE JUNEAU E-MAIL TO THE PARTIES RE INPUT ON ALTERNATE CAUSATION
    (Sept. 25, 2012)

12. HOLSTEIN LETTER TO CLAIMS ADMINISTRATOR (Sept. 28, 2012) (re: Issues Raised by
    Class Counsel or Settlement Program)

13. HOLSTEIN LETTER TO CLAIMS ADMINISTRATOR (Sept. 28, 2012) (re: Sept. 25th Policy
    Announcements)

14. MEMO FROM CLASS COUNSEL TO CLAIMS ADMINISTRATOR RE SEPT. 25TH POLICY
    ANNOUNCEMENTS (Sept. 28, 2012)

15. Claims Administrator’s REVIEW AND CLARIFICATION OF SELECTED POLICY STATEMENTS
    (Oct. 8, 2012)


                                                                                      40
Case 2:10-md-02179-CJB-DPC Document 8963-55 Filed 03/20/13 Page 3 of 3




16. Claims Administrator’s ANNOUNCEMENT OF POLICY DECISIONS REGARDING CLAIMS
    ADMINISTRATION (Oct. 10, 2012)

17. EXCERPTS FROM FINAL APPROVAL HEARING TRANSCRIPT

18. JOINT PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW IN SUPPORT OF FINAL
    APPROVAL [Doc 7945], p.39.

19. E-MAIL FROM DAN CANTOR TO MIKE JUNEAU RE: “ACCOUNTANT QUESTIONS”
    (Dec. 11, 2012)

20. E-MAIL FROM JUDGE BARBIER RE “MEETING TODAY RE NON-PROFITS AND SIP”
    (Dec. 12, 2012)

21. Claims Administrator’s ANNOUNCEMENT OF POLICY DECISIONS (Jan. 15, 2013)

22. DECLARATION OF ALLEN CARROLL (Jan. 16, 2013)
         Ex. A - RECOGNITION OF REVENUE AND GAINS, under FASB Statement No. 5
         Ex. B – Wilder and Dickinson, ACCOUNTING RULES FOR CONTINGENT FEE
                 RECOGNITION

23. AFFIDAVIT OF HAROLD ASHER (Jan. 15, 2013)

24. DECLARATION OF RICK STUTES (Jan. 17, 2013)

25. DECLARATION OF DR. MARK KOHLBECK, CPA (Feb. 18, 2013)

26. Kein, Weygandt & Warfield, “Recognition and Measurement Concepts” INTERMEDIATE
    ACCOUNTING (13th ed.), pp.39-51.

27. WHAT BP’S EXPERTS WANT: Summary of Declarations Submitted by BP in Support of
    BP’s February 3, 2013 Motion for Reconsideration,

28. E-MAIL TO CLASS COUNSEL FROM MARY BETH MANTIPLY (Feb. 16, 2013)

29. DECLARATION OF ROBERT WALLACE (“Wally”) (Feb. 18, 2013)

30. DECLARATION OF GEORGE PANZECA (Feb. 18, 2013)

31. DECLARATION OF JOHN TOMLINSON (Feb. 18, 2013)
       - Test Case No. 13
       - Test Case No. 20
       - Test Case No. 71
       - Test Case No. 72

32. SUPPLEMENTAL DECLARATION OF ALLEN CARROLL (Feb. 18, 2013)

                                                                                    41
